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                              UNITED STATES DISTRICT COURT OF TllE                                h:8 0 1 2019
                               EASTERN DISTRICT OF PENNSYLVANIA                              \<ATE BARKMAN. Clerk
                                                                                            By           Dep. C!erlt
       HERMJNE BYFIELD,
                                             Plaintiff,
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                v.
                                                                           CIVIL ACTION
      HEALTHCARE REVENUE RECOVERY GROUP,                                NO. 2: 18-cv-00243-PBT
      LLC; and DOES 1 through 10, inclusive,
                                        Defendants.


                          STll!,ULATED CONFlDE;;iTIALITY AGREE~ENT
              WHEREAS, the parties to the above-captioned matter have agreed that these proceedings

     may involve the discovery and use of confidential, non-public, sensitive, or proprietary business,

     employment, tax, financial, and personally identifiably infonnatio11, documents, and other

     materials (hereinatter the "Confidential Material'');

              WHEREAS, the pai:ties have agreed to produce such documents only on the agreement

     that such "Confidential Material," including infotmation regarding current and former

     employees' social security infonnation, dates of birth, personal banking information, medical

     infonnation, and rates of pay, and corporate trade secrets, nonpublic research and development

     data, confidential business information not generally known to the public, and customer and

     resident information. will be disclosed only as provided herein;

              WHEREAS, the parties have agreed to stipulate to protect certain confidential and

     otherwise protected documents, data, and other infonnation against claims of waiver and

     inadvertent production in the event they are produced during the course of this litigation whether

     pursuant to a Court Order, a party's discovery request, or informal production;

              WHEREAS, Defendant may be required to produce large volumes of documents, the

     parties wish to comply with discovery deadlines and complete discovery as expeditiously as



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     possible, white preserving and without waiving a11y evidcntiary protections or privileges

     applicable to the information contained in the documents produced, including as against third

     parties and other proceedings;

                THEREFORE, the parties hereby stipulate and agree as follows:

                1.     When used in this Stipulated Confidentiality Agreement; the term ccdocument"

     shall be defined in the same manner as the word "document" is defined in Rule 34(a) of the

     Federal Rules of Civil Procedure, and shall include, without limitation, original writings,

     drawings, graphs, charts, photographs, recordings (by video or audio device), and any other

     compilation from which information can be obtained, translated, if neoessaty, by the party

     responding to aoy request for production through detection devices into reasonably usable form,

     and any copies thereof.

                2.    ,cProducing Party11 means the party or non-party producing Confide11tial Material.

                3.    "Receiving Party" means the party receiving or requesting production of

     Confidential Material.

                4.    A Receiving Party shall solely use discovery material received by that party for

     purposes of the above-captioned litigation and shall not use said discovery material for any other

     purpose, including, without limitation, any personal, business, or com.mercial purpose, or any

     other litigation or proceeding.

               5.     Confidential Material produced pursuant to the above-captioned litigation that

     relates to personnel information of non-parties shall be marked "Confidential, 0 and shall be kept

     strictly confidential by both Plaintiff and Defendant, and their respective legal counseli and used

     only in connection with the proper litigation of the above-captioned matter.




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          6.    Confidential Material produced pursuant to the above-captioned litigation that

 relates to salary or other compensation records for any party or non-party shall be marked

"Attorney's Eyes Only." Any documents marked "Attorney's Eyes Only," or any information

derived from documents marked "Attorney's Eyes Only." shall not be shared with anyone other

than the Receiving Party's legal counsel.

         7.    Confidential Material produced pursuant to the above,.captioned litigation that

relates to personnel information of non"parties and that contains social security numbe.rs or

personal banking information shall be redacted to remove the social security numbers or personal

banking information.

         8.    Confidential Material and information derived from Confidential Material shall

not be disclosed, except to the following persons:

               a.      The Court and necessary Court personnel;

               b.      Counsel for any party, and the paralegal, stenographic, clerical, and

sect'etarial personnel employed by such counsel;

               c.      Any party and any officer or trustee of a party;

               d.      Court personnel, including stenographic reporters engaged in such

proceedings as are necessarily incident to preparation for trial and trial of the above-captioned

litigation;

               e.      h1dependent contractors engaged in one or more aspects of organizing,

copying, imaging, filing; coding, converting, storing, or retrieving data, documents, or

information, or designing programs for handling data connected with this litigation, including the

performance of such duties in relation to a computerized litigatton support systern;




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                 f.     Non-patty experts or consultants (together with their associates,

 consultants, and clerical and secretarial staff) retained to assist in prosecution, defense,

settlement, or other disposition of the above-captioned litigation;

                g.      Any person whom a party intends, in good faith, to call as a witness in any

deposition, hearing, or trial in the above-captioned litigation, and that person's attorneys to the

extent reasonably necessary to give his or her testimony;

                h.      A mediator or arbitrator engaged in the proceedings; and

                L       Any other person to whom the Producing Party has consented to

disclosure in advance and in Wl'iting.

         9.     Prior to receiving any Confidential Material, each authorized person referenced

above shall be provided with a copy oftbis Confidentiality Agreement and shall agree to its

terms.

         10.    Nothing herein shall prohibit a party's counsel of record from showing

Confidential Material to a person (i) who is the author or addressee of such Confidential

Material; or (ii) who had previous access to such Confidential Material including, but not limited

to, access to a known source of the Confidential Material.

         11.    This Confidentiality Agreement shall have no effect on any information or

document that became publicly known or was in the public domain.

         12.    This Confidentiality Agreement is entered solely for the purpose of facilitating the

pre-trial exchange of information between the parties and non~parties to the above·captioned

litigation without involving the Court unnecessarily in the process. Nothing in this

Confidentiality Agreement, nor the production of any information under its terms, nor any

proceedings undertaken pursuant hereto, shall be deemed to have the effect ofan admission or




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waiver by any party of, or otherwise deemed to alter the confidentiality or non-confidentiality of,

any information. Nor shall compliance with this Confidentiality Agreement operate as an

admission as to the admissibility of any information.

           13.   The parties shall confer in good faith prior to trial in an attempt to devise

protective procedures to be applicable at trial that are sathifactory to the Court.

           14.   The foregoing is without prejudice to the right of any Party or non~Party: (a) to

apply to the Court for a protective order relating to any Confidential Material or relating to any

discovery in this litigation; (b) to object to the production of documents it considers not subject

to   discovery; 01· ( c) to apply to the Court for an order compelling production of documents,

modification of or relief from this Confidentiality Agreement or for any order pennitting

disclosure of Confidential Material beyond the terms of this Confidentiality Agreement.

           15.   Failure to redact information or mark a document "Confidential Material" or

''Attorney's Eyes Only') prior to production in accordance with this Agreement shall not

constitute a waiver of that party's claim to confidentiality and shall not preclude that party from

thereafter in good faith redacting the document and or marking the document "Confidential

Material" and/or "Attorney's Eyes Only," so long as it does so promptly after learning of the

oversight and requests in writing that the Receiving Party treat the document or information in

accordance with this Confidentiality Agreement.

           16.   In the event the Producing Party inadvertently produces a document or thing that

otherwise is not discoverable for reasons of the attorney-client privilege or work product

doctrine, or both, such inadvertent production shall not constitute any waiver of attorney-client

privilege or work product doctrine and all copies of such inadvertently produced documents and

things shall promptly be returned by the Receiving Party to the Producing Party upon request by



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     the Producing Party. Upon such demand, the Receiving Party shall return the documents and

     things and not 1-etrun copies thereof. If a party wishes to challenge an asserted claim of privilege,

     then the party asserting such a challenge shall retain a copy of the document and/or material at

     issue, pending disposition of such a challenge by the Court.

               17.   In the event the Receiving Party intends to file any document containing

     personally identifiable information relating to any fom1cr, prospective, or current employee or

     other non-party witness with the Court, the Receiving Party will provide the Producing Party, at

     least ten (] 0) days in advance of the filing, with notice of which documents it intends to file with

     the Court. The parties shall confer in good faith prior to the filing of the documents with the

     Court in an attempt to reach an agreement as to the scope of the in.formation that shall be filed

     and whether the information should be redacted or filed under seal. In the event the parties do not

     reach an agreement, the matter will be submitted to the Co\1rt for resolution.

              18.    Counsel, the Producing Party, or the parties may designate information disclosed

     during a deposition pursuant to the Federal Rules of Civil Procedure as "Confidential Material"

     by identifying on the record at the deposition the material that is to be treated as "Confidential

     Material," or by marking within thirty (30) days after the receipt of a certified copy of the

     transcript of such deposition the portions of the transcript to be designated as Confidential

     Material. During the deposition, if"Confidential Material" is disclosed, prior to disclosure any

     person not authorized to receive "Confidential Material" shall be excluded from the deposition

     until testimony regarding those matters has been concluded. Ptior to the expiration of such thirty

     (30) day period, all information disclosed during a deposition shall be treated as "Confidential

     Material," unless otherwise agreed by the parties and the witness, or ordeted by the Court.




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         19.    If any testimony in a deposition or any document or information used during the

course of a deposition is designed as "Confidential Material," the portion of the deposition

record reflecting such material shall be stamped with the appropriate designation and access

thereto shall be limited pursuant to the tenns of this Confidentiality Agreement. The terms of this

Confidentiality Agreement shall apply to videotaped depositions, and video cassettes, DVDs, or

other video containers, which shall be labeled in accordance with the terms of this

Confidentiality Agreement.

        20.    If any documents, information, or testimony are designated "Confidential

Material" by the Producing Party, but are not believed to constitute "Confidential Material" by

the Receiving Party, the Receiving Party shall notify the Producing Party and request a written

release of confidential treatment hereunder. If such written release is not forthcoming within ten

(10) calendar days thereafter, the Receiving Party may apply to the Court for an order requiring

the release of confidential treatment. Prior to making such an applicatio11, the Receiving Party

shall contact the Producing Party, and the parties shall confer in good faith in an effort to resolve

the dispute. To maintain confidential status in the event of such an application, the proponent of

confidentiality must satisfy its burden pursuant to Ruic 26 of the Federal Rules of Civil

Procedure.

        21.    ln the event appeals or writs are taken in the above-captioned litigation, the

parties shall take reasonable steps to attempt to protect and preserve the confidentiality of

''Confidential Material," such as seeking appropriate orders from the appellate court, and filing

documents under seal as appropriate.

        22.    Within 60 days after the final determination, settlement, or other disposition of the

above-captioned litigation, including any appeals, materials containing current, fonner, or



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             prospective employee or other non-party witness information disclosed or received by any party

             to this Confidentiality Agreement, or any Authorized Person (other than counsel's copies of

             documents filed with the Court and counsel's file copies of papers prepared in connection with

             this matter), shall be destroyed by counsel for the party in possession of such information.

             Counsel in possession of such information shall certify in writing that it has been destroyed in

             accordance with this paragraph.

                       23.   In the event any person or entity bound by the terms of this Confidentiality

             Agreement that has possession. c11stody, or control of any material, regardless of whether that

             material is "Confidential Material," which that person or entity did not produce, receives a

             subpoena or other process or order to produce such infonnation, such person or entity, as soon as

             reasonably practicable, shall notify counsel for the parties aud the counsel ofrecord of the

             Producing Party claiming such confidential treatment of the document sought by such subpoena

             or other pt'ocess or order. The pi::rson or entity receiving the subpoena or other process or order

             shall cooperate with respect to all reasonable procedures sought to be pursued by the Producing

             Party whose interests may be affected. The Producing Party or party asse1ting the confidential

             treatment shall have the burden of defending against such subpoen.a, process, or order. The

             person or entity bound by the provisions of this Confidentiality Agreement that receives the

             subpoena or other process or order shall be entitled to comply with it except to the extent the

             person or entity asserting the confidential treatment is successful in obtaining an order modifying

             or quashing the subpoena.

                       24.   The Court retains the right to allow disclosure of any subject covered by this

             stipulation or to modify this stipulation at any time.




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      Dated'.     -~"-3tJ/',6.J-,J,__,.~--
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                                                                                    SO ORDERED.

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                                                                                    The Honorab~e Petrese B. Tucker
                                                                                    UNITED STATES DIS1~1CT JUDGE.




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